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    9
   10                       UNITED STATES DISTRICT COURT
   11        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   12
   13 NEMAN BROTHERS & ASSOC.,                    Case No. 2:20-cv-11181-CAS-JPRC
      INC., a California Corporation,
   14                                             DECLARATION OF MARK S. LEE
                   Plaintiff,                     IN SUPPORT OF SECOND
   15                                             SUPPLEMENTAL BRIEF OF
            v.                                    INTERFOCUS, INC. IN SUPPORT
   16                                             OF MOTION FOR SUMMARY
      INTERFOCUS, INC. d.b.a.                     JUDGMENT ON COPYRIGHT
   17 www.patpat.com, a Delaware                  INVALIDITY
      Corporation; CAN WANG, and
   18 individual, and DOES 1-10, inclusive.,
                                                  (Filed Concurrently with Second
   19              Defendants.                    Supplemental Brief)
                                                  Filing Date: October 27, 2022
   20                                             Time: Under Submission
      INTERFOCUS, INC. d.b.a.                     Courtroom: 8D
   21 www.patpat.com, a Delaware
      Corporation; CAN WANG, an                   The Hon. Christina A. Snyder
   22 individual, and DOES 1-10, inclusive,
   23              Counterclaim Plaintiffs,
   24        v.
   25 NEMAN BROTHERS & ASSOC.,
      INC., a California Corporation,
   26
                   Counterclaim Defendant.
   27
   28

        DECLARATION OF MARK S. LEE ISO SECOND SUPPLEMENTAL BRIEF OF INTERFOCUS’ MOTION FOR
                                         SUMMARY JUDGMENT
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    1                         DECLARATION OF MARK S. LEE
    2        I, Mark S. Lee, declare:
    3        1.     I am a lawyer admitted to practice before this Court, and am a partner
    4 at Rimon, P.C., counsel of record for InterFocus, Inc. d.b.a. www.patpat.com
    5 (“InterFocus”) in this matter. I have personal knowledge of the following facts,
    6 except where otherwise indicated, based on my personal participation in the matters
    7 described, and if called upon as a witness, I could and would competently testify
    8 thereto.
    9        2.     I tried my first copyright infringement action to a jury in 1984, and
   10 have been involved in copyright litigation and counseling ever since. On behalf of
   11 clients, I have filed copyright applications and recorded copyright-related
   12 documents with the Copyright Office for decades. Through those efforts, as well as
   13 through legal research on Copyright Office practices, I have become familiar with
   14 those practices.
   15        3.     Beginning no later than the 1980s, the Copyright Office developed
   16 forms that people or companies needed to use when they wished to apply for
   17 copyright registration for works they created. For example, copyright applications
   18 for textual works such as books had to be filed using a “Form TX” copyright
   19 application. Copyright applications for works of visual art had to be submitted
   20 using a “Form VA” application form. There were and are various other forms.
   21 Those application forms always included instructions that would constitute the first
   22 of two pages of an application document, followed by the blank application forms
   23 themselves. The instructions affixed to the front of the application form included
   24 “line-by-line” instructions, which explained what an applicant needed to include in
   25 each space of the application.
   26        4.     The format and layout of those forms was changed slightly by the
   27 Copyright Office from time to time, but the text has remained substantially the
   28 same. I attach application forms the Copyright Office made available to the public at
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    1 various times to illustrate this. I obtained those copies from the Internet Archive’s
    2 “Wayback Machine” website.
    3        5.     The “Wayback Machine” is a digital archive of the World Wide Web
    4 founded by the Internet Archive, a nonprofit organization based in San Francisco,
    5 California, and viewable at https://web.archive.org/. Launched to the public in
    6 2001, it has methodically “crawled” and recorded websites for about the past 22
    7 years, and allows users to go “back in time” and see how those websites, and some
    8 or all of the contents within those websites, looked at various points in the past.
    9 Using the “Wayback Machine,” I visited the Copyright Office’s website as it existed
   10 at various times in the past, and obtained true and correct copies of its “Form VA”
   11 copyright application and instructions as they existed at those times. A true and
   12 correct copy of the Copyright Office’s “Application Form VA” as it existed on June
   13 2, 2001, is attached as Exhibit 1. A true and correct copy of its “Form VA”
   14 copyright application as it existed on September 16, 2002, is attached as Exhibit 2.
   15 A true and correct copy of its “Form VA” copyright application as it existed on June
   16 10, 2004, is attached as Exhibit 3. A true and correct copy of its “Form VA”
   17 copyright application as it existed on March 26, 2008, is Attached as Exhibit 4. A
   18 true and correct copy of “Form VA” copyright application as it existed on January 7,
   19 2012, is attached as Exhibit 5. A true and correct copy of “Form VA” copyright
   20 application as it existed on November 8, 2016, is attached as Exhibit 6. A true and
   21 correct copy of “Form VA” copyright application as it existed on May 13, 2017, is
   22 attached as Exhibit 7. The text of the “line-by-line” instructions for “Form VA”
   23 involving “Author(s)” at Space 2, and “Derivative Work or Compilation” for Space
   24 6 are also “cut and pasted” into page four of the accompanying Second
   25 Supplemental Brief filed herein.
   26        6.     Beginning July 1, 2008, the Copyright Office also allowed people and
   27 companies to apply for copyright registrations online using what it calls its “eCO”
   28 electronic filing system. A true and correct copy of a June 25, 2008 press release
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    1 issued by the Copyright Office that announced that new technology is attached as
    2 Exhibit 10.
    3        7.     Under the “eCO” system, a copyright applicant fills out an electronic
    4 form provided on the Copyright Office’s website. During 2017 and 2018, applicants
    5 who wanted to submit group applications for one or more works of visual art, such
    6 as the three group registrations at issue here, would fill out and submit what was
    7 called the “standard application” form to apply for a copyright registration for those
    8 works, and would upload electronic copies of the works for which registration was
    9 sought with the applications. True and correct copies of electronic applications
   10 forms that were used by the Copyright Office in 2017 and 2018 are displayed in two
   11 online tutorials viewable the “YouTube” website. See “How to File a Copyright
   12 Application-Visual Arts” (2014), viewable at
   13 https://www.youtube.com/watch?v=twAXvnO_NU0, and “How to File Copyrights
   14 Online-PA, SR & Multiple Works for One Fee” (2015), viewable at
   15 https://www.youtube.com/watch?v=hoVD6oa-8EM&t=1009s, which both depict the
   16 Copyright Office’s standard online application form Neman Brothers would have
   17 used when it filed the group applications at issue in 2017 and 2018.
   18        8.     The Copyright Office’s online “eCO” application form differed
   19 somewhat from the paper applications used by the Copyright Office in that, rather
   20 than include instructions separate from the application themselves, the online “eCO”
   21 forms included explanatory information on each page of the electronic application
   22 itself, with more information provided in hyperlinks that were included in
   23 application pages. For example, a true and correct copy of the portion of the
   24 “Authors” page of the “eCO” standard application form I personally copied from the
   25 standard application is included in page six of the accompanying Second
   26 Supplemental Brief, and is concurrently filed as the first page of concurrently filed
   27 Exhibit 11. It truly and accurately depicts the information included on the
   28 application page, and in blue, underlined text truly and accurately depicts the
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    1 hyperlinks with additional information concerning the terms used. A true and
    2 correct copy of the explanatory webpages that appears if one clicks on either of
    3 those two hyperlinks are shown in the remaining pages of Exhibit 11.
    4         9.     In 2017 and 2018, and continuing to the present, the Copyright Office
    5 also made available to the public by a hyperlink on its home page its “Compendium
    6 of U.S. Copyright Office Practices (Third Edition).” That Compendium provided
    7 more detailed information about who constituted an “author,” when a work was
    8 “made for hire,” when a work was a “derivative” of earlier works. Attached as
    9 Exhibit 12 is a printout that truly and accurately depicts the first few pages of that
   10 Compendium, along with a few other pages cited in the brief as they existed on
   11 December 17, 2016 that I copied from the “Wayback Machine” online archive.
   12         10.   In 2017 and 2018, the Copyright Office’s website also displayed a
   13 “Contact Us” button on the top of its website home page, and by clicking on that
   14 button and completing the information requested, a copyright applicant could ask
   15 any questions it had about a copyright application, including the group applications
   16 Neman Brothers filed in 2017 and 2018 that form the basis of its copyright
   17 infringement claims. A true and correct copy of the Copyright Office’s home page
   18 as it appeared on January 13, 2017, the date on which Neman Brothers applied for
   19 the first of the registrations on which it bases its copyright infringement claims
   20 herein, and which depicts the “Contact Us” button on its upper right, is viewable at
   21 https://web.archive.org/web/20170113144202/https://www.copyright.gov/. A true
   22 and correct copy of the copyright.gov webpage that displays when one clicks on that
   23 “Contact US” button on the home page that appears on that date is viewable at
   24 https://web.archive.org/web/20170104235959/https://www.copyright.gov/help/inde
   25 x.html. I copied those pages, and although my printer altered the layout of those
   26 pages somewhat to accommodate their being printed on 8 and one half by 11-inch
   27 paper, their substance remains unchanged, and true and correct copies of those pages
   28 are attached as Exhibits 13 and 14.
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    1         11.    Westlaw is an online research service and database that lawyers and
    2 others can use to search, among other things, filings of legal actions in federal court.
    3 In preparation for this declaration I searched the Westlaw database for copyright
    4 actions filed in the Central District of California filed before 2018 in which Neman
    5 Brothers & Assoc., Inc. was a party and printed out the list that resulted from that
    6 search. That search revealed that Neman Brothers has been involved in about 61
    7 copyright actions through 2018. A true and correct copy of that list is attached as
    8 Exhibit 15.
    9         12.    On Westlaw, one can also review the dockets of federal actions located
   10 as a result of searches conducted on it, and those dockets identify whether parties in
   11 those legal actions are represented by counsel. I reviewed the dockets for each of the
   12 61 copyright actions identified in the Westlaw search I conducted, and that review
   13 revealed that Neman Brothers was represented by legal counsel in all of those
   14 actions, and further revealed that Neman Brothers’ legal counsel in this action
   15 represented it in many of the legal actions identified in Exhibit 15. According to
   16 those dockets, Neman Brothers was the plaintiff in most of those copyright actions,
   17 and the majority of them settled on confidential terms shortly after they were filed.
   18 Of those that did not settle, most resulted in rulings adverse to Neman Brothers, as
   19 described in footnote 5 of InterFocus’ accompanying second supplemental brief.
   20         13.    InterFocus served Neman Brothers with a request for production of
   21 documents herein after this Court authorized it to conduct limited discovery on the
   22 issues discussed in the accompanying second supplemental brief, and Neman
   23 Brothers produced certain documents in response to those requests. Attached as
   24 Exhibit 16 is a true and correct copy of a document produced by Neman Brothers in
   25 response to those requests, consisting of 2019 correspondence from a Copyright
   26 Office Registration Specialist.
   27         14.    In this action, Neman Brothers alleges infringement of three works
   28 identified in three group copyright registrations it attached as exhibits to its
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    1 complaint and amended complaint, as well as a declaration filed by Yoel Neman in
    2 connection with the current cross-motions. See Dkt. Nos. 42-4, 42-6 and 42-8
    3 herein. Dkt. No 42-4 identifies about 16 works, Dkt. No. 42-6 identified about 108
    4 works, and Dkt. No. 42-8 identifies about 28 works, for an average of over 50 works
    5 per registration. Multiplying that 50 works per registration average by the 357
    6 registrations Neman Brothers obtained before 2017 results in an estimated 17,850
    7 works covered by those 357 group registrations. In deposition, Yoel Neman testified
    8 that all of the 16 works listed in the copyright registration identified at Dkt. No. 42-4
    9 were created by third parties but did not know how many of the works in the other
   10 two group registrations came from third parties. See Dkt. No. 72 at 7-8.
   11 Conservatively estimating that around 40% of the works included in group
   12 applications were third party works, and applying that 40% estimate to the 17,850
   13 total works estimate described above, 7,140 third party works should have been
   14 individually registered. Adding the 357 group applications if actually did file before
   15 2017, as well as the additional 10 applications it filed during 2017, to those third
   16 party work registrations results in a total of at least 7,600 applications Neman
   17 Brothers should have filed.
   18         15.    In my experience, it generally takes at least an hour to complete a
   19 copyright application, locate, organize and prepare for submission the deposit copy
   20 of the work for which a copyright application is being filed, and obtain and submit
   21 the filing fee that is required with the application. Thus, I estimate that it took
   22 Neman Brothers about 357 hours to prepare and submit the 357 copyright
   23 applications Copyright Office records indicate it filed before 2017, while I estimate
   24 it would have taken about 7,140 hours to submit individual copyright applications
   25 for the additional individual third party works it should have filed.
   26         16.    The amount of the filing fee the Copyright Office charges for copyright
   27 applications has varied over the years from $35 to $55 per application, depending on
   28 the type of work involved, whether a paper or online application is filed, whether a
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    1 group or individual work application is filed. And other factors. I could not
    2 precisely tabulate how much Neman Brothers paid for its applications because it did
    3 not know whether its pre-2017 applications were filed with a paper application or
    4 online. However, using $45 as an average charge, cost for filing the additional 7,140
    5 applications would have been $321,300, while the cost to file the 357 it actually did
    6 file before 2017was about $16,065.
    7        17.    This office served a Notice of Deposition of Plaintiff Neman Brothers
    8 & Associates, Inc. pursuant to Federal Rule of Civil Procedure 30(b)(6), and a true
    9 and correct copy of that notice is attached as Exhibit 8. I personally deposed the
   10 individual who was produced by Neman Brothers pursuant to that notice on August
   11 12, 2022. True and correct copies of the excerpts of that deposition cited in
   12 InterFocus’ concurrently filed second supplemental brief are attached as Exhibit 9.
   13        I declare under penalty of perjury under the laws of the United States that the
   14 foregoing is true and correct. Executed October 27, 2022, at Los Angeles,
   15 California.
   16
                                                     /s/ Mark S. Lee
   17                                                Mark S. Lee
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